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                         THIS IS TO CERTIFY        that the attached additional certificate is a
                 claim of copyright for a work entitled CARE BEARS 2015 CORE STYLE
                 GUIDE registered under VA 1-982-408. This work was registered in
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                        IN WITNESS WHEREOF                the seal of this Office is affixed hereto on
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            Co,   A                    Acting United States Register of Copyrights and Director
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Certificate of Registration
                              This Certificate issued under the seal of the Copyright
                              Office in accordance with title 17, United States Code,
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                    2         identified below. The information on this certificate has          Registration Number
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                                                                 my                              July 29, 2015
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                              United States Register of Copyrights and Director


   Title

                                Title of Work:           Care Bears 2015 Core Style Guide


   Completion/Publication
                     Year of Completion:                 2015
                  Date of 1st Publication:               July 27, 2015
                Nation of 1" Publication:                United States


  Author

                          ]         Author:              Those Characters From Cleveland, Inc.
                            Author Created:              2-D artwork
                        ‘Work made for hire:             Yes
                                   Domiciled in:         United States


  Copyright Claimant

                        Copyright Claimant:              Those Characters From Cleveland, Inc.
                                                         One American Road, Cleveland, OH, 44144




    Rights and Permissions

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                                                         Cleveland, OH 44144

  Certification

                                            Name:        Patricia A. Motta
                                             Date:       July 28, 2015
           Applicant's Tracking Number:                  CB 2015 Core Style Guide


                                                                                                                            Page 1 of 2
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  Fonts & Copy                                                                                                                   Copy Guidelines
  The fonts below can be used effectively in title, headline                               Copy, when applied to individual      Good product creation involves
  and short copy situations.                                                               products, can promote sales and      coordinating copy, art, character and
                                                                                           add a positive point of difference   product. Product copy used on an ftem
                                                                                           to your product. American            should coordinate with the character shown
  (available     at www.houseind.com)                                                      Greetings reserves the right to
                                                                                                                                in the design and the product's purpose.
 abcdefghijkimnopgrstuvwxyz                                                                approve all copy on advertising,
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                                                                                           point of purchase and product. We
 ABCDEFGHIJKLMNOPQRSTUVIWWXYZ                                                              would be happy to work with you      Bedtime Bear asleep might run with the
                                                                                           on the specific needs of your        copy, "Sleeping Cutie.”
 Gill Sans                                                                                                                      The copy “Let the fun shine ini” better
                                   UlaraBold                                               product.
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 Care Bear Bold                                                                                Bear Hug                         gift tems meant to be purchased by one
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ABCDEFGHU                                    PQRSTUVWXYZ                                    Hugs Rule!                          particular product has a strong sales success
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“Care Boer Book and Care Bear Bold fonts are exclusive to American                          Need a hug?                         history with such copy, be sure to inform us
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and its licensees. They have been designed solely for use on the Care Boars
program and cannot be used on any other non                                                 Cute and cuddly                     of this when you submit your item for
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                                                  Care Bears products or
materials.                                                                                * Nobody Cares Like a Care Bear       approval.
                                                                                          * Caring Counts
Helvetica (for legal copy)                                                                ® Sharing Is Caring                   Product copy should be set in a color rather
{available at www.adobe.com)
                                                                                                                                than in black. When in doubt, and
abedefghijkimnopgrstuvwxyz                                                                                                      background colors allow, use Pantone
ABCDEFGHIJKLMNOPQRSTUVWXYZ                                                                                                      Process Cyan C or CMYK 100C.
*If Helvetics is not avaiisble then use a sanserif font that is very similar in shape,
thicknes    and letter forms.
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                                   General Guidelines
                                   + All Care Bears product, packaging and promotional materials must have legal.

                                   + Avoid using the Care Bears logo as the primary design element without a bear.

                                  + Color is very important to the Care Bears program. When possible use colors found
                                    in any of the art that is supplied in this guide.

                                  + The Care Bears red signature heart is located only on each Bear's RIGHT hip.
                                    {This heart must be added or removed as neaded when an image Is flopped.)

                                  * As a general rule, if the tail cannot be seen then the hip heart would not be in view
                                    end should not be added.

                                  * When flopping Care Bears character artwork, care must be taken so that all the
                                    characters graphic elements end up in their correct orientation.

                                  = Most character belly badges are only properly oriented in one particular direction.
                                    Be sure to orient them correctly after flopping a character Image.

                                  + Care Bears belly badges must be used in combination with either character art or the
                                    Care Bears logo. The strength of the Care Bears program is not the badges alone but
                                    the combination with the bears and brand identity.

                                  + All Care Bears product, packaging and promotional materials are subject to approval
                                     by American Greetings.




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             Original Art




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                            Every bear must have a heart on     When flopping bear artwork, the           Belly badge has been flopped to the
                            their right hip.                    belly badge must be flopped back          correct orientation and the hip heart
                                                                and the heart removed on the left hip.    has been removed.
          Original Art




                                                              Avoid covering belly badges or bears’       Bears’ belly badges and faces are
                                                              faces with other art, logos or lettering.   not obstructed in any way.



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With the exception of the swinging star image,     Never change the color of the letters in    Avoid cropping more than half of
never change the scale of star buddies. Always     the logo and never add a drop shadow.       the tummy graphic.
reference the size comparison chart when scaling
art Individually.




                         So       Sh,

Never rotate the logo and never cover the          *NEVER, EVER mix New Care Bears            Avoid floating bears in landscape
logo with any other art or lettering.              artwork with any previous art.             designs with clouds. When possible,
                                                                                              have bears planted on clouds.



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                                 Best Friend Bear™
                                 Best Friend Bear knows how fo care for best friends and keep them coring for

                                 closes friends—a happy heart and smiley star, connected by a rainbow!



                                  Copy Suggestions                               Color Palette
                                          My BFF is swoott                      Hip Heart: ) PMs 186
                                            Tre                                                             PMS 2572
                                                  off                                 Body:              (0 Plan
                                       You're in my favorites!                                       eo     PMS 2612
                                       My BFF makes me LOL!                                                 Outline Color

                                           Forever Friends.                        Mouth:            |      PMS 184
                                                                                                            Tongue
                                       Happiness is....my BFF!
                                               Besties!                                              4      Black

                                         | (heart) my bestie                     me                           i.
                                                                                 version of this bear for   ide
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                                             Friend Bear™

                                              Color Palette
                                           Hip Heart: Qf pms 186

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                                                                           Outline Color




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                                            “This profile page shows the PMS color



                                             of product please refer fo the 3-D Guidelines
                                            for color and consiruction.
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                             Funshine                  Bear™
                            Playful Funshine Bear works hard fo make sure that everyone is having a good
                            time. His sense of humor makes him the life of any party and he really knows
                            how to have fun. Funshine Bear's belly badge reflects his sunny dispasition—a
                            bright yellow sun with an ever-present smile.

                             LOpY      Suggestions                           Color         Palette
                                   Get your shine on!                       Hip Heart: () pms 186
                                  Lat your light shine!
                                  Good day, sunshine!                          Body:
                                                                                                  PMS   122
                                                                                                  Fill Color
                                       Fun is #1                                                  PMS 145
                                        #shineon                                                  Outline Color
                                     Fun in the Sun!                          Mouth:              PMS   184
                                     Theil Seeker]                                                Tongue
                                    Catch some fun.                                        WP sox
                                  The fun starts here.
                                 Sky High Adventure!                        Mabriaper rt
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 Cw CIs
                            Harmony Bear™
                            She sings, she acts, and she plays every instrument you can imagine!
                            Harmony Bear Is o natural leader who is afl about encouraging folks to do
                            their best, especially through music. That's why her belly badge Is a single
                            flower with differant colored petaisi

                            Copy Suggestions                                   Color Palette
                                       Fab-U-Lous                            Hip Hear: ©                      PMS 186
                                  Stand out and SHINE!                                                        ons 2725
                                       Be~YOU-iful                                    sody: QF ZN Cor
                                     Perfect Harmony                                                          PMS 2745


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                                                                                                              Outline Color



                                        Super (Star)
                                       Rockin’ Out!                                               4           Black
                                         Spotlight                                }
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                                                                              version of this bear for limiled color printed




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Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 39 of 68 PageID #:130
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                             Grumpy Bear™
                            Grumpy may be a bit of a grouch, but his grumpiness reminds us that it's okay
                            to be grumpy sometimes—as long as it doesn’t last foo long. Grumpy Bear's
                            tummy symbol—a rain cloud with falling hearts—is a reminde       that even
                                                                                                    r
                            when we're less than cheery, we are still loved by thosa closest to us.

                             Copy Suggestions                               Color Palette
                                    Loveable Grump                        Hip Heart: Qf) pms 186
                                   ! woke up like this.
                                    Grin and bear itl                          Body:         QP        Fuse
                                 Care-ful, I'm grumpyi                                                 PMS 286
                                     #recllyasoftie                                                    Outline Color
                                     Hug with care.                          Mouth: (J) PMS 184
                                      I need a hug.                                                      ongye
                                This is my happy face!                                       W ox
                                A hug o day keeps the
                                                                           *This profie page shows the PMS color
                                    grumples away!                         Pre, Kh si a ore rt
         Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 41 of 68 PageID #:132




CA0197-CB-15-1




                                                CA0198-CB-15-1               CAD199-CB-15-1
       Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 42 of 68 PageID #:133




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    Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 43 of 68 PageID #:134




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Le    O-CEOSCOeCe                                 OeDmOsseCe                                                                  Oem

                                  Laugh-
                                  Laugh-a-lot
                                         a-lot Bear™
                                 Laugh-o-lot Bear isis the silliest Care
                                 Lough-a-lot                         Care Bear who concan turn normal life
                                                                                                        fe situation
                                                                                                            situationss
                                 into lots of laughter for everyone around. Her
                                 into                                             Her belly
                                                                                       belly badge describess exactly
                                                                                             badge describe    exactly
                                 who she
                                 who   she fruly
                                            truly is—a star at giving
                                                  is—a star     giving others
                                                                        others the  giggles!
                                                                               the giggles!


                                  Copy Suggestions
                                       Suggestions                                       Color Palette
                                         Live.     LAUGH. Love.
                                         Live. LAUGH.       Love.                      Hip
                                                                                       Hip Heart: @
                                                                                                  Qf) PMS
                                                                                                      pms 186
                                   Laugh
                                   Laughter ter
                                              isis the
                                                   the best
                                                        best medicine!
                                                              medicine!                                                BMS 1875
                                      ROFL (Rolling
                                           (RoNoniing
                                                    the floor                                Body
                                                                                             Body:: (11
                                                                                                    (1 Ha   ar
                                                                                                        FM2 Ia
                                                laughing)
                                               laughing)                                                               PMS 179
                                            Lou
                                            Lough outgh loud.                                                          Outline Color
                                               #gigglefit
                                               #pigglefit                                 Mouth: 4                     PMS 184
                                                                                                                       Tongue
                                            Got the
                                            Got the giggles.
                                           || thearl)
                                               (heart) laughing                                            Ww Black
                                            Get sill
                                            Get       withyititi
                                                silly with
                                                                                        ris      Identical poses exist in cmyk for full
                                                                                                   if you ore
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                                                                                        af product please refer 10 the 3-D Guiddlines
                                                                                        for color and
      Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 45 of 68 PageID #:136




                 CA0361B-CB-15-1




                                                              CA0363B-CB-15-1
                    CA0362-CB-15-1
                    CA0362-CB-15 -1




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            Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 46 of 68 PageID #:137




                                                                                  CA0250-C8-15-1




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     CA0247-CB-15-1
                                                    CA0249-CB-15-1




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 Graphic Patches




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     GP0255-CB-15-1




                          GP0256-CB-15-1
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     Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 50 of 68 PageID #:141




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                                  Secret Bear™
                                 A naturally good listener, Secret Bear Is that special kind of falthful friend who
                                 you know will keep your secrels safe. Even her belly badge says, “your secret's
                                 safe with me” ~- i's a heart-shaped
                                                                  locki


                                 Copy Suggestions                                   Color Palette
                                          Tell Me a Secret                         Hip Heart: @) pms 126
                                           Count on mel
                                                                                       Body:                       PMS 212
                                     Wont to know a secret?                                        :               Fill Color
                                           Leave it to me!                                                        PMS 215
                                             Top Secret                                                           Outline Color
                                               Pssst!
                                                                                     Mouth:            (          PMS 184
                                   The secret fo fun is friends!                                           4      Tongue
                                           Secret Keeper                                               @          Black
                                                                                   *This|        page shows the PMS color
                                                                                   version of this bear for Bmited color
                                                                                   product. identical poses esdst In crvk for full
                                                                                   color prinfing. i you are creating
                                                                                   al product please refer 10 the 3-D Guidelines
                                                                                   for color and
Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 51 of 68 PageID #:142




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          CA0382B-CB-15-1




                                                        CA0384B-CB-15-1
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                                      CA0365-CB-15-1                         CA0367-CB-15-1


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                                                                                 CA0368A-CB-15-1




CA0364-CB-15-1
                                                  CA0366-CB-15-1



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wv    B=CEOsS0eOc                               QeCEOS0-0c                                              SeEl

                                 Share Bear™
                                 Need something? Anything? If Share Bear has it, she'll share itl Carefree
                                 and loving, Share is happlest when she’s with her friends ~ or baking! She
                                 loves sharing so much that she shows it with her belly badge - two
                                 heort-shaped lollipops!

                                 Copy Suggestions                                  Color Palette
                                         Sharing is caring!                      Hip Heart: (ff) pms 186
                                          | (hear!) sharing!
                                          Sweet as Sugar!
                                          Sweetas   Sugar!                           Body:
                                                                                     Body:    v     Finrene
                                                                                                         Calor
                                        Sweetness counts!                                     Ww PMS 268
                                             #cargfree                                               Outline Color
                                           Share a smile                            Mouth:    Wp    PMS 184
                                          #shareyourcare                                            Tongue
Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 54 of 68 PageID #:145




                                                        CA02798B CB 2015
             CA0278 CB 2015
         Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 55 of 68 PageID #:146




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     Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 56 of 68 PageID #:147




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Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 57 of 68 PageID #:148




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     Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 58 of 68 PageID #:149




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                                  Sweet Dreams Bear™
                                 Sweet Dreams Bear wants you fo have the best momings by making sure you
                                 have the happiest dreams ot night! That's why she wants you to rest just as
                                 pleasantly as her belly badge shows—a drowsy moon drifting off fo dreamland.


                                 Copy Suggestions                               Color Palette
                                         Sweet Dreamer!                       Hip Heart: LJ PMS 186
                                          Sleeping Cutie
                                          Life's a dream!                        Body:          W       Tus 263 s
                                          Pajama Portyt                                                 PMS 2665
                                      Follow Your Dreams!                                               Cutline Color
                                           Sloop tight!                         Mouth:            PMS 184
                                           Dream Ont                                            v Tongue
                                          Dream Team
                                                                                                &      Black


                                                                               ep     Joie          aT       cok
                                                                                           Poses evdst in cmyk for full
                                                                                         Nyou
Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 59 of 68 PageID #:150




                                                             CA0391A-CB-15-1

          CAD389B-CB-15-1




                                                        CA0391B-CB-15-1
             CA0390-CB-15-1
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                                                                      CA0303-CB-15-1




                                                                          CAQ304A-CB-15-1




                                        CA0302-CB-15-1
          Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 61 of 68 PageID #:152




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  Graphic Patches




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      GP0O307-CB-15-1




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         Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 62 of 68 PageID #:153




     Patterns




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                           PT0313-CB-15-1                             PT0315-CB-15-1




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    Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 63 of 68 PageID #:154




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           PT0322-CB-15-1            PT0323-CB-15-1                    PT0324-CB-15-1
Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 64 of 68 PageID #:155




                             Wish Bear™
                            Wish Bear likes 10 make wishes come true and believes there's nothing in the
                            world thot a wish con't help. She's a special kind of dreamer, 100, because
                            even when wishes don’t come true, she still thinks wishing Is a lot of fun! Wish
                            Bear shows this with her belly badge—a smiling shooting star.

                             Copy Suggestions                                  Color Palette
                                       I wish | may!                         Hip Heart: () pms 186

                                                                                                            PMS 319
                                         Star Light                                  sody: Qf) PS 39
                                         Wish big!                                                          PMS 32)
                                      Sweet Wishes                                                          Outline Color
                                      Make a wish.                              Mouth:          4          PMs 184
                                 Creams really do come                                                        ongue
                                           true!                                                Ww          Black
                                       Believe in U1
                                                                             Is       £3          ei          oe
                                                                                      Kientionl poses exist in cmyk for ful
                                                                             color          you
                                                                                             ore creating
    Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 65 of 68 PageID #:156




Poses
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              CAD0329B-CB-15-1
              CAO0329B-CB-15-1




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                                  \                         CA03318-CB-15-1
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                 CA0330-CB-15-1
                 CA0330-CB-15-1   \




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    Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 66 of 68 PageID #:157




Graphic Patches




             GP0335-CB-15-1                                  GP0336-CB-15-1




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         Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 67 of 68 PageID #:158




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                            PT0341-CB-15-1                                   PT0343-CB-15-1



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        Case: 1:24-cv-03559 Document #: 1-3 Filed: 05/02/24 Page 68 of 68 PageID #:159




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GP0334-CB-15-1-CGl




               GP0335-CB-15-1-CGI




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